The above-entitled applicant, having been disbarred from the practice of law by previous opinion of this court (In re Hosford,62 S.D. 374, 252 N.W. 843), has made application for reinstatement; the Attorney General of this state appearing in opposition thereto. Applicant appeared in person and by counsel, and the matter has been fully submitted to, and considered by, the court. From the petition and facts presented in support thereof when considered with the previous record of the applicant, the same are deemed insufficient to warrant his reinstatement. The judges are of the opinion, therefore, that said application should be denied.
Hon. H.R. HANLEY, the Judge of the Seventh Circuit, and Hon. FRANK R. FISHER, one of the Judges of the Ninth Circuit, sitting in place of Judges POLLEY and ROBERTS, disqualified. *Page 162 